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ARTICLE FOUR

SATISFACTION AND DISCHARGE

SECTION 401. Satisfaction and Discharge of Indenture.

(a) This Indenture shall upon Issuer Request of an Issuer cease to be of further effect as to
such Issuer (except as to any surviving rights of registration of transfer or exchange of Debt
Securities provided for herein and rights to receive payments of principal of (and premium, if

’ any) and interest thereon) and the Trustee, at the expense of such Issuer, shall execute proper
instruments acknowledging satisfaction and discharge of this Indenture with respect ta such
Issuer and the Guarantor (in the case of Guaranteed Debt Securities), when:

(1) either

@) _. all Debt Securities theretofore issued by and authenticated
and delivered hereunder (other than: (x) Debt Securiti¢s that have been
destroyed, lost or stolen and that have been replaced or paid as provided in
Section 306; and (y) Debt Securities for whose payment money has theretofore
‘been deposited in trust or segregated and held in trust by such Issuer and
- thereafter repaid to such Issuer or discharged from such trust, as provided in
Section 1003) have been delivered to the Trusies for cancellation; or

. (ii) all such Debt Securities issued by such Issuer and authenticated and
delivered hereunder and not theretofore delivered to the Trustee for

cancellation:
(x) have become due and payable;

{y} will become due and payable at their Stated Maturity Date within
one year; OF

(2 are to be called for redemption within one year under
arrangements satisfactory to the Trustee for the giving of notice
_by the Trustee in the name, and at the expense, of such Issuer,

and such Issuer, in the case of Gi)X), GDC) oF Gi)(Z) above, has irrevocably
depasited or caused to be deposited with the Trustee as trust funds in trust an
amount sufficient to pay and discharge the entire’ indebtedness-on such Debt
Securities for principal (and premium, if any) and interest to the date of such
deposit (in the case of Debt Securities that have become due and payable) or to
the Stated Maturity Date or Redemption Date, as the case may be; ‘

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(2) such Issuer or the Guarantor (in the case of Guaranteed Debt Securities) has
paid or caused to be paid all other sums payable hereunder by such Issuer or
Guarantor, as the case may be; and

_@) such Issuer has delivered to the Trustee an Officers’ Certificate and Opinion of
Counsel each stating that all conditions precedent herein provided related to the
satisfaction and discharge of this Indenture have been complied with.

(b) Notwithstanding the satisfaction and discharge of this Indenture, the obligations of such
Issuer to the Trustee under Section 606 and, if money shall have been deposited with the
Trustee pursuant to paragraph (a)(1) Gi) of this Section. the obligations of the Trustee under
Section 402 and Section 1003(e) shall survive.

SECTION 402. Application of Trust Money.

Subject to the provisions of Section 1003(e), all money deposited with the Trustee pursuant to
Section 401 shall be held in trust and applied by it,, in accordance with the provisions of the
Debt Securities, the Guarantees (in the case of Guaranteed Debt Securities) and this Indenture,
to the payment, either directly or through any Paying Agent (including either Issuer or the
Guarantor, acting as its own Paying Agent) as the Trustee may determine, to the Persons
entitled thereto, of the principal (and premium, if any) and interest for whose payment such

money has been deposited with the Trustee...

ARTICLE FIVE

DEFAULTS AND REMEDIES

SECTION 501. Events of Default and Enforcement.

If and when any one or more of the following events (herein called an “Event of Default”)
shall happen and be continuing with respect to the Debt Securities of any series, namely:

() a default in payment of principal (and premium, if any) of any Debt Security of
such series when due;

(2) a default in payment of interest on any Debt Security of such series when due
and payable and the continuance of such default for 30 days;

(3) a default in the deposit of any sinking fund payment on any Debt Security of
such series when due;

(4) a default in performing or observing any of the covenants, agreements or other

so obligations of the applicable Issuer or the Guarantor (in the case of Guaranteed x
Debt Securities), as described herein for 90 days after written notice to such

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Issuer or Guarantor by the holders of not less than 25% in principal amount of — x
Outstanding Debt Securities of such series requiring the same to be remedied; .

a decree, judgment, or order by a court having jurisdiction in the premises shall
have been entered adjudging the applicable Issuer or the Guarantor {in the case
of Guaranteed Debt Securities) a bankrupt or insolvent or approving as properly
filed a petition seeking reorganization, readjustment, arrangement, composition
or similar relief for the applicable Issuer or the Guarantor (in the case of
Guaranteed Debt Securities) under any bankruptcy, insolvency or other similar
applicable law and such decree, judgment or order of a court having jurisdiction
in the premises for the appointment of a receiver or liquidator or trustee or
assignee in bankruptcy or insolvency of such Issuer or Guarantor, as the case
may be, of a substantial part of its property, or for the winding up or liquidation
of its affairs, shall have remained in force for a period of 60 consecutive days;
or any substantial part of the property of such Issuer or Guarantor shall be
sequestered or attached and shall not be returned to the possession of such Issuer
or Guarantor or released from such attachment whether by filing of a bond, or’
stay or otherwise within 60 consecutive days thereafter;

the applicable Issuer or the Guarantor (in the case of Guaranteed Debt

. Securities) shall institute proceedings to-be adjudicated a voluntary bankrupt, or

shall consent to thé filing of a bankruptcy proceeding against it, or shall file a
petition or answer or consent seeking reorganization, readjustment,
arrangement, composition-or similar relief under any bankruptcy, insolvency or
other similar applicable law or such Issuer or.Guarantor shali consent to the
filing of any such petition, or shall consent to the appointment of a receivér or
liquidator or trustee or assignee in bankruptcy or insolvency for it or of a
substantial part of its property, or shall make an assignment for the benefit of
creditors, or shall be unable; or admit in writing its inability, to pay its debts |
generally as they become due, or corporate action shall be taken by such Issuer
or Guarantor in furtherance of any of the aforesaid actions;

the occurrence of an event of default as defined in any evidence of indebtedness _
for borrowed money of the applicable Issuer or the Guarantor (in the case of
Guaranteed Debt Securities), exceeding on its face $100,000,000 in principal

‘amount, whether such indebtedness now exists or shall hereafter be created,

which results in such indebtedness becoming or being declared due and payable
prior to the date on which it would otherwise become due and payable and such
acceleration shall not be rescinded or annulled within 10 days after written
notice (i) specifying such default, (ii) requiring such defaulting entity io cause
such acceleration to be rescinded or annulled, and (ii) stating that such notice is
a “Notice of Default” thereunder, shall have been given to such defaulting

" entity by the Trustee or to such defaulting entity and the Trustee by the trustee

under any such mortgage, indenture or instrument, by the holder or holders of
any such indebtedness or by the agent of any such holder or holders; or

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(8). any other Event of Default provided with  Fespect the Debt Securities of that
series;

then, and in each and every such case, the Trustee or the Holders of not less than 25%
in principal amount of thé Outstanding Debt Securities of such series at such time may
declare the principal of (and premium, if any) togethér with accrued interest on, all
such Debt Securities of such series to be due and payable inimediately, by a notice in-
writing to the applicable Issuer and the Guarantor (in the case of Guaranteed Debt
Securities), and to the Trustee if given by the Holders, and upon any such declaration
such principal amount, together with accrued interest thereon shall become immediately

due and payable,
SECTION 502. - Waiver of Declaration.

At any time after such a declaration of acceleration with respect to the Debt Securities of a
series has been made and before a judgment or decree for payment of the money due has been -
' obtained by the Trustee as hereinafter provided, the Holders of a majority in principal amount
of Outstanding Debt Securities of such series, by written notice ta the applicable Issuer, the
Guarantor (in the case of Guaranteed Debt Securities) and the Trustee, may rescind and annul

such declaration and its consequences if:

(1) the applicable Issuer or the Guarantor (in the case of Guaranteed Debt _
Securities) has paid or deposited with the Trustee a sum sufficient to pay:

a all overdue interest on all the Debt Securities of such series;

(i) ‘the principal of any of the Debt Securities of such series which have
become due otherwise than by such declaration of acceleration, and
_ interest thereon at the rate or rates prescribed therefor in such Debt

Securities; and

(iii) to the extent that payment of such interest is lawful and applicable,
interest upon overdue installments of interest at the rate or rates
prescribed therefor in such Debt Securities; and

-(2) . all Events of Default with respect to the Debt Securities of-such series, other
than the non-payment of the principal of, and interest on, such Debt Securities
which have become due solely by such declaration of acceleration, have been
cured or waived in accordance with the provisions of the Indenture, ,

SECTION 503. Waiver.

(a) The Holders of not less than a majority in principal amount of the Outstanding Debt
Securities of any series may on behalf of the Holders of all Debt Securities of any such series

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waive any past default hereunder with respect to such series and its ‘consequences, except a
~ default: :

(1) inthe payment of the principal of (or premium, if any) or interest on any Debt
Security of such series; or ,

(2) in respect of a covenant or provision hereof that under Article Nine cannot be
_modified or amended without the consent of the Holder of each Outstanding Debt

Security of such series affected.

(b) Upon any such waiver, such default shall cease to exist, and any Event of Default
arising therefrom shall be deémed to have been cured, for every purpose of this Indenture. No
such waiver shall extend to any subsequent or other default or impair any right consequent

’ thereon,

SECTION 504. _ Other Remedies.

(a) -Tfan Event of Default occurs and is continuing, the Trustee may pursue any available
remedy to collect the payment of principal of (and premium, if any) or interest on Debt
Securities or-to enforce the performance of any provision of Debt Securities or this Indenture.

(0) The Trustee may maintain a proceeding even if it does not possess any Debt Securities
or does not produce any of them in the proceeding. A delay or omission by the Trustee or any
_ Holder in exercising any right or remedy accruing upon an Event of Default shall not impair
the right or remedy or constitute a waiver of or acquiescence in the Event of Default. All
remedies, except as provided in Section 306, are cumulative to the extent permitted by law.

SECTION 505. | Application of Money Collected. ° -

’. Any money collected by the Trustee pursuant to this Article shall be applied in the following
order, at the dates fixed by the Trustee and, in case of the distribution of such money on
account of principal of (and premium, if any) or interest, upon presentation of Debt Securities-
and the notation thereon of the payment if only partially paid and upon surrender thereof if

fully paid:
FIRST: To the payment of all amounts due the Trustee under Section 606; and

SECOND: _ To the payment of the amounts then due and unpaid for principal of (and
premium, if any) and interest on Debt Securities, in respect of which or for the benefit of
which such money has been collected ratably, without preference or puiority of any kind,
according to the amounts due and payable on such Debt Securities for principal (and premium, -
if any) and interest, respectively. The Holders of any Debt Securities denominated in ECU,
any other composite currency or a Foreign Currency shall be entitled to receive a ratable
portion of the amount determined by the Trustee converting the principal amount Outstanding
of such Debt Securities and matured but unpaid interest on such Debt Securities in the

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currency in which such Debt Securities are denominated into Dollars’at the Exchange Rate as
of the date of declaration of acceleration of the Maturity of the Debt Securities (or, if there is
no such rate on such date for the reasons specified in Section 311@), such rate on the date

specified in such Section).
SECTION 506.. Control by Holders.

(@) The Holders of at least a majority in principal amount of the Outstanding Debt
Securities of any series, may:

direct the time, method and place of conducting any proceeding for any remedy
available to the Tastee or exercising any trust or power conferred on it it with
respect to the Debt Securities of such series: and

q)

(2) take any other action authorized to be taken by or on behalf of the Holders of
any specified aggregate principal amount of Debt Securities under any
provisions of this Indenture or under applicable law.

(b) The Trustee may refuse, however, to follow any direction that conflicts with law or this
Indenture or is unduly prejudicial to the rights of other Holders.

SECTION 507. Limitation on Suits. -

(a) .A Holder of Debt Securities may pursue a remedy with respect to this Indenture
directly himself only if: (1) the Holder gives to the Trustee notice 6f a continuing Event of
Default; (2) the Holders of at least 25% in principal amount of all of the then Outstanding
Debt Securities issued under the Indenture (treated as a class) make a request in writing to the
Trustee to pursue the remedy; (3) such Holder or Holders indemnify the Trustee inform
satisfactory to it against any loss, liability or expense; (4) the Trustee does not comply with
‘the request within 60 days after receipt of such request and indemnity; and (5) during such
60-day period the Holders of a majority in principal amount of all of the Outstanding Debt
Securities (treated as a class) do not give the Trustce a direction inconsistent with the request.

(b) Holders may not use this Indenture to prejudice the rights of another Holder or to
obtain a preference or priority over another Holder.

“SECTION 508. Rights of Holders To Receive Payment:

Notwithstanding any other provision of this Indenture, the right of: any Holder to receive
payment of principal of (and, premium, if any) and interest on Debt Securities held by him, on
or after the respective due dates expressed in the Debt Securities (or, in the case of
redemption, on the Redemption Date), or to bring suit for the enforcement of any such

‘ payment on or after such respective dates, shall not be impaired or affected without the consent

of the Holder.

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SECTION 509. Collection Suit by Trustee. .

If an Event of Default specified in Section 501(1), (2) or (3) occurs and is continuing, the

Trustee may recover judgment in its own name and as trustee of an express trust against the
applicable Issuer or the Guarantor (in the case of Guaranteed Debt Securities) for the whole
amount of principal (and premium, if any) and interest remaining uripaid. :

SECTION 510. Trustee May File Proofs of Claim.

The Trustee may file such proofs of claim and other papers or documents as niay be necessary
or advisable in order to'have the claims of the Trustee and the Holders allowed in any judicial
proceedings relative to the applicable Issuer or the Guarantor (in the case of Guaranteed Debt

Securities), its creditors or its property.
SECTION S11. Undertaking for Costs.

In any suit for the enforcement of any right or remedy under this Indenture or in any suit
against the Trustee for any action taken or omitted by it as Trustee, a court in its discretion

+ May require the filing by any party litigant in the suit of an undertaking to pay the costs of the
suit, and the court in its discretion may assess reasonable costs, including reasonable attomeys'
fees, against any party litigant in the suit, having due regard to the merits and good faith of the.

' claims or defenses made by the party litigant. This Section does not apply to a suit by the
Trustee, a suit by a Holder pursuant to Section 507, or a suit by any Holder or group of
Holders of more than 10% in principal arnount of the Outstanding Debt Securities.

SECTION $12. ° Delay or Omission Not Waiver.

No delay or omission of the Tnistee or of any Holder of any Debt Security to exercise any
right or remedy accruing upon any Event of Default shall impair any such right or remedy or
constitute a waiver of any such Event of Default or an acquiescence therein. Every right and
remedy given by this Article or by law to the Trustee or to.the Holders may be exercised from _
time to time, and as often as may be deemed expedient, by the Trustee or by the Holders, as

' the case may be.
SECTION 513. Waiver of Stay or Extension Laws.

The Issuers and the Guarantor each, severally and not jointly, covenants (to the extent that it
may lawfully do so} that it will not at any time insist upon, or plead, or in any manner
‘whatsoever claim or take the benefit or advantage of, any stay or extension law wherever
enacted, now or at any time hereafter in force, that may affect the covenants or the -
performance of this Indenture; and the Issuers and the Guarantor each, severally and not
jointly (to the extent that it may lawfully do so), hereby expressly waives all benefit, or
‘advantage of any such law, and covenants that it will not hinder, delay or impede the
execution of any power herein granted to the Trustee, but will suffer and permit the execution

of every such power as thoiigh no such law had been enacted.
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ARTICLE SIX
THE TRUSTEE

SECTION 601. Duties of Trustee. |

{a) If an Event of Default-has occurred and is continuing, the Trustee shall exercise such of
the rights and powers vested in it by this Indenture, and use the same degree of care and skill
in their exercise, as a prudent person would exercise or.use under the circumstances in the
conduct of his own affairs.

(b). Except during the continuance of an Event of Default:

(t) the Trustee need perform only those duties that are specifically set forth in this
Indenture and no others; and

(2) in the absence of bad faith on its part, the Trustee may conclusively rely, as to
the truth of the statements and the correctness of the opinions expressed therein,
upon certificates or opinions furnished to the Trustee and conforming to the
requirements of this Indenture; however, the Trustee shall examine the
certificates and opinions to determine whether or not they so conform.

(c) The Trustee may not be relieved from liability for its own negligent action, its own
negligent failure to act, or its own willful misconduct, except that:

(1) __ this paragraph does not limit the effect of paragraph (b) of this Section;

(2) the Trustee shall not be liable for any error of judgment made in good faith by a
Responsible Officer, unless it is proved that the Trustee was negligent in

ascertaining the pertinent facts;

(3) the Trustee shall not be liable with respect to any action it takes or omits to take
in good faith in accordance with a direction received by it pursuant to Section .

506; and

(4 no provision of the Indenture shall require the Trustee to expend or risk its own
funds or otherwise incur any financial liability in the performance of any of its
duties hereunder, or in the exercise of any of its rights or powers, if it shall
have reasonable grounds for believing that repayment of such funds or adequate
indemnity against such risk or liability is not reasonably assured to it.

(a) Every provision of this Indenture that in any way relates to the Trustee is subject to the
above paragraphs of this Section. The Trustee may refuse to perforni any duty or exercise any
right or power unless it receives indemnity reasonably satisfactory to it for actions taken under

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this Indenture. The. Trustee shall not be liable for interest on any money received by it except
as the Trustee may agree with the applicable Issuer or the Guarantor. Money held in trust by
the Trustee need not be segregated from other funds except to the extent required by law.

SECTION 602. Rights of Trustee.
The Trustee may rely on-any document believed by it to be genuine and to have been signed or.
- presented by the proper person, The Trustee need not investigate any fact or matter stated in
the document. Before the Trustee acts or refrains from acting, it may require an Officers’
Certificate or an Opinion of Counsel. The Trustee shalt not be liable for any action it takes or
omits to take in good faith in reliance thereon. The Trustee may act through agents or
-altorneys and shall. not be responsible for the misconduct or neghgence of any agent or
The Trustee shall not be liable for any action it takes or
omits to take in good faith, except as otherwise provided in this Indenture, which it reasonably
believes to be authorized or within its rights or powers. The Trustee may consult with counsel
of its selection and the advice of guch counsel or any Opinion of Counsel shall be fulland |
complete authorization and. protection in respect of any action taken, suffered or omitted by it
hereunder in good faith and in reliance thereon. so

attorney appointed with due care.

SECTION 603. Individual Rights of Trustee.

The Trustee in its individual or any other capacity may become the owner oF pledgee of Debt.
Securities and may otherwise deal with the Issuers of the Guarantor with the same rights it
would have if it. were not Trustee. Any agent of the Trustee may do the same with like rights.

However, the Trustee is at all-times subject to Sections 609 and 610.

. SecTion 604. Trustee's Disclaimer.

the validity or adequacy of Debt Securities, it shall
eeds from Debt Securities, and it
ther than its certificate of

The Trustee makes no representation as to
not be accountable for the applicable Issuer’s use of the proc
shall not be responsible for any statement in Debt Securities 0

authentication.

SECTION 605. Notice of Defaults.

if an Event of Default with respect to a series of Debt Securities occurs and is continuing, the
Trustee shall mail to Holders of Debt Securities of such series a notice of the Event of Default .
within 90 days after it occurs. Except in the case of an Event of Default resulting from
nonpayment on any Debt Securities, the Trustee may withhold the notice if and so long as a
committee of its Responsible Officers in good faith determines that withholding the notice is in

the interests of the Holders of Debt Securities.

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’ Section 606. Compensation and Indemnity.

(a) The Issuers shall pay to the Trustee from time to time compensation for its services as
agreed separately by the Issuers and the Trustee. The Trustee’s compensation shall not be
limited by any law on compensation of a trustee of an express trust.
(b) The Issuers, severally and not jointly, shall indemnify the Trustee or any predecessor
Trustee and their-agents for, and to hold them harmless. against, any and all loss, damage,
claims, liability or expense arising out of or in connection with the acceptance or .
administration of the trust or trusts hereunder, including the costs and expenses of defending
itself against any claim or liability in connection ‘with the exercise or performance of any of its
‘powers or duties hereunder, except to the extent that such loss, damage, claim, liability or
expense is due to its own negligence or bad faith or that of its agents or attorneys. The
Trustee shall notify the applicable Issuer promptly of any claim for which it may seek
_indemnity. The applicable Issver shall defend the claim and the Trustee shall cooperate in the
defense. The applicable Issuer need not pay for any settlement made without its consent.

(c) Except as otherwise expressly provided herein, the Issuers agree to reimburse the
Trustee upon its request for all reasonable and documented expenses, disbursements and
advances incurred or made by the Trustee in accordance with any provision of this Indenture

* (iricluding the reasonable and documented compensation, expenses and disbursements of its _
agents and counsel), except any such expense, disbursement or advance as may be attributable
to its negligence or bad faith or that of its agents or altomeys, and

in this Section, the Trustee shall
held or collected by the Trustee, —

(d) To secure the Issuers’ respective payment obligations
have a lien prior to Debt Securities on all money or property
except that held in trust to pay principal and interest on Debt Securities.

When the Trustee incurs expenses or renders services in connection with an Event of Default
specified in Section 501(5) or Section 501(6), the reasonable and documented expenses
(including the reasonable and documented charges and expenses of its counsel) and
compensation for the services are intended to constitute expenses of administration under any

applicable Federal or state bankruptcy, insolvency or other similar law.

The provisions of this Section shall survive the termination of this Indenture and the
resignation or removal of the Trustee.

SECTION 607.. Replacement of Trustee.

(a) A resignation or removal of the Trustee and appointment of a successor Trustee for the

Debt Securities of any series shall become effective only upon the successor Trustee's

acceptance of appointment as provided in this Section.

(b) The Trustee may resign at any time with respect to Debt Securities of one or more
iving written notice thereof to the applicable Issuer and the Guarantor (in the case of

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_ ' Guaranteed Debt Securities). If an instrument of acceptance by a succéssor Trustee shall not

have been delivered to the Trustee within 30 days after the giving of such notice of
_ Tesignation, the resigning Trustee may petition any court of competent jurisdiction for the

appointment of a successor Trustee to the Trustee and to such Issuer and Guarantor. The
Holders of at least a majority in- principal amount of then Outstanding Debt Securities of such
Series may Temove the Trustee by so notifying the Trustee, such Issuer and Guarantor if: (1)
.the Trustee fails to comply with Section 609; (2) the Trustee is adjudged a bankrupt or an
insolvent; (3) a receiver or. public officer takes charge of the Trustee 6x its property; or (4) the
Trustee becomes incapable of.acting, then, in any such case, (i) such Issuer by a Board
Resolution thereof may retnove the Trustee with respect to all Debt Securities, or (ii) any
Holder who has been a bona fide Holder of a Debt Security of any series for at least six
months may, on behalf of himself and all others similarly situated, petition any court of
competent jurisdiction for the removal of the Trustee for the Debt Securities of such series and

the appointment of a successor Trustee.

(c) If the Trustee resigns or is removed or if a vacancy exists in the office of Trustee for _
any reason with respect to the Debt Securities of one or more series, the applicable Issuer shall
promptly appoint a successor Trustee or Trustees with respect to the Debt Securities of that or
those series (it being understood that any such successor Trustee may be appointed with respect
to the Debt Securities of one or more or all of such series and that at any time there shall be
only one Trustee with respect to the Debt Securities of any particular series) and shall comply
with the applicable requirements of this Section .607,- Within one year after the successor
Trustee takes office, the Holders of a majority in principal amount of Outstanding Debt
Securities of any series may appoint a successor Trustee jo replace the successor Trustee

. appointed by such Issuer with respect to the Debt Securities of such series, If a successor.
Trustee does not take office within 60 days after the retiring Trustee resigns or is removed, the

' retiring Trustee, such Issuer or the Holders of at least 10% in principal amount of the Debt .
Securities of any series may petition any court of competent jurisdiction for the appointment of
a successor Trustee with respect to the Debt Securities of such series.

(dy ‘If the Trustee fails to comply with Section 609, any Holder of Debt Securities may
petition any court of competent jurisdiction for the removal of the Trustee and the appointment

of a successor. Trustee.

(2) The applicable Issuer shall give notice of each resignation and each removal of the
Trustee with respect to Debt Securities of any series and each appointment of a successor
Trustee with respect to Debt Securities of any series in the manner provided in Section 106.
Each notice shali include the name of the successor Trustee with respect to Debt Securities of

such series and the address of its Corporate Trust Office.

(f) In the case of an appointment hereunder of a successor Trustee with respect to all Debt
Securities, every such successor Trustee so appointed shall execute, acknowledge and deliver
to the Issuers and to the Guarantor and to the retiring Trustee an instrument accepting such

. appointment, and thereupon the resignation or removal of the retiring Trustee shall become
effective and such successor Trustee, without any further act, deed or conveyance, shall

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become vested with all the rights, powers, trusts and duties of the retiring Trustee; but, on .
request of either Issuer or the Guarantor or the successor Trustee, such retiring Trustee shall,
upon payment of its charges, execute and deliver an instrument transferring to such successor
Trustee all the rights, powers and trusts of the retiring Trustee, arid shall duly assign, transfer
and deliver to such successor Trustee all property and money held by such retiring Trustee

hereunder,

@) In case of the appointment heretinder ‘of a successor Trustee with respect to Debt
Securities of one or more (but not all) series, the applicable Issuer, the Guarantor (in the case
of Guaranteed Debt Securities), the retiring ‘Trustee upon payment of its charges and each
successor Trustee with respect to Debt Sécurities of one or more series shall execute and
deliver an indenture supplemental hereto wherein each successor Trustee shall accept such
appointment and which: (1) shall contain such provisions as. shall be necessary OF desirable to
transfer and confirm to, and to vest in, each successor. Trustee all the rights, powers, (rusts and
duties of the retiring Trustee with respect to Debt Securities of that or those series to which the
appointment of such successor Trustee relates; (2) if the retiring Trustee is not retiring with
‘respect to all Debt Securities, shall contain such provisions as shall be deemed necessary or
desirable to confirm that all the rights, powers, trusts and duties of the retiring Trustee with
respect to Debt Securities of that or those series.as to which the retiring Trustee is not retiring -
‘Shall continue to be vested in the retiring Trustee; and () shall add to or change any of the
provisions of this Indenture as shal] be necessary to provide for or facilitate the administration —
of the trusts hereunder by more than one Trustee, it being understood that nothing herein or in
such supplemental indenture shall constitute such Trustees co-trustees of the same trust and that
each such Trustee shall be trustee of a trust or trusts hereunder separaic and apart from any
trust or trusts hereunder administered by any other such Trustee; and upon the execution and
delivery of such supp. ali the resignation or removal of the: retiring Trustee shall
become effective to the extent provided therein and each such successor Trustee, without any
further act, deed or conveyance, shall become vested with all the rights, powers, trusts and
duties of the retiring Trustee with respect to the Debt Securities of that or those series to which
the appointment of such successor Trustee relates; but, on xequest of the applicable Issuer, the
Guarantor (in the case of Guaranteed Debt Securities) or any successor Trustee, such retizing
Trustee shall duly assign, transfer and deliver to such successor Trustee all property and
money held by such retiring Trustee hereunder with respect.to the Debt Securities of that or
those series to which the appointment of such successor Trustee relates.

(h) Upon request of any such successor Trustee, the Issuers and the Guarantor shall execute
any and all instruments for more fully and certainly vesting in and confirming. to such
successor Trustee all such rights, powers and trusts referred to in paragraph (f) or (g) of this

Section, as the case may be.

@ No successor Trustee shall accept its appointment unless at the time of such acceptance
such successor T) shall be quali and eligible under this Article.

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SECTION 608. Successor Trustee by Merger, etc.

Tf the Trustee consolidates, merges or converts into, or transfers all or substantially all of its
corporate trust business to, another corporation, the successor corporation without any further

act shall be the successor Trustee.
SECTION 609. Eligibility; Disqualification.

This Indenture shall always have a Trustee who satisfies the requirements of Section 310(a)(1)
of the Trust Indenture Act. Ihe Trustee shall always have a combined capital and surplus of at
least $5 million, calculated as permitted by Section 310{a)}(2) of the Trust Indeature Act. The
Trustee is subject to Section 310(b) of the Trust Indenture Act (provided the indentures dated

- as of May 3, 1988 and November 30, 1988 between the Corporation and the Trustee are
excluded from the operation thereof pursuant to Section’310(b)(1) of the Trust Indenture Act),
including the optional provision permitted by the second sentence of Section 310(b)(9) of the

Trust Indenture Act.
SECTION 610. Preferential Collection of Claims Against the Issuers.

The Tnustee is subject to Section 311 {a) of the Trust Indenture Act, except with respect to any
creditor relationship listed in Section 311(b) of the Trust Indenture:Act. A Trustee’ who has
" resigned or been removed is subject to Section 311(a) of the Trust Indenture Act to the extent

indicated.
ARTICLE SEVEN _

HOLDERS" LISTS AND REPORTS BY TRUSTER, ISSUERS AND GUARANTOR

SECTION 701... Preservation of Information: Communications to Holders.

(a) The Trustee shall preserve, in as current a form as is reasonably practicable, the names
and addresses of Holders of Debt Securities received by the Trustee in its capacity as Security

Registrar, if so acting.

(b) If three or more Holders of a series of Debt Securities (hereinafter referred to as
“applicants”) apply in writing to the Trustee, and furnish to the Trustee reasonable proof that
each such applicant has owned a Debt Security for a period of at least six months immediately
‘preceding the date of such application, and such application states that the applicants desire to
communicate with other Holders of Debt Securities of a particular series (in which case the
applicants must hold: Debt Securities of such series) or with all Holders of Debt Securities with
respect to theit rights under this Indenture or under the Debt Securities and is accompanied by
a copy of the form of proxy or other communication which such applicants propose to.
transmit, then the Trustee shall, within five Business Days after the receipt of such application,

at its election, either:
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‘ (1) ‘afford such applicants access to the information preserved at the time by the .
‘Trustee in accordance with Section 701(a); or

(2) inform such applicants as to the approximate number of Holders of Debt
Securities of such series or of all Debt Securities, as the case may be, whose
“names and addresses appear in the information preserved at the time by the
Trustee in accordance with Section 701(a), and as to the approximate cost of
mailing to such Holders the form of proxy or other communication, if any,

specified i in such application.

If the Trustee shall elect not to afford. such applicants access to such information, the Trustee
shall, upon the written request‘of such applicants, mail to each Holder whose name and
address appear in the information preserved at the time by the Trustee in accordance with

' Section 701 (a), a copy of the form of proxy or other communication that is specified in such
request, with reasonable promptness after a.tender to the Trustee.of the material to be mailed
and of payment, or provision for the payment, of the reasonable expenses.of mailing, unless
within five days after such tender, the Trustee shall mail to such applicants and file with the .
Commission, together with a copy of the niaterial to be mailed, a.written statement to the
effect that, in the opinion of the Trustee, such mailing would be contrary to the best interests

' of the Holders or would be in violation of applicable law. : Such written statement shall specify
thé basis of such opinion. If the Commission, after opportunity for a hearing upon the
objections specified in the written statement so filed, shall enter an order refusing to sustain
any of such objections or if, after the entry of an order sustaining one or more of such
objections, the Commission shall find, after notice and opportunity for hearing, that all the
objections so sustained have been met and shall enter an order so declaring, the Trustee shall

_ mail copies of such material to all such Holders with reasonable promptness after the entry of
such order and the renewal of such tender, otherwise the Trustee shall be relieved of any

obligation or duty to such applicants respecting their application.

‘(cy . Every Holder of Debt Securities, by receiving and holding the same, agrees with the
applicable Issuer, the Guarantor (in the case of Guaranteed Debt Securities) and the Trustee
that none of such Issuer, Guarantor and the Trustee shall be held accountable by reason of the
disclosure of any such information as to the names and addresses of the Holders in accordance
with Section 701(b), regardless of the source from which such information was derived, and
that the Trustee shall not be held accountable by reason of mailing any material pursuant to a

request made under Section 7TO1Q).

SECTION 702. Reports by Trustee.

(a) Within 60 days after May 15 of each year following the date of this Indenture, the

Trustee shall mail to Holders a brief report dated as of such reporting date that complies with
Section 313(a) of the Trust Indenture Act. The Trustee shall also comply with Sections.
313(0)(2) and 313(c).of the Trust Indenture Act,

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(b) - A copy of each report at the time of its mailing to Holders shall be filed with the
Commission and each stock exchange on which Debt Securities of any series are listed.

“SECTION 703. Reports by Issuers and the Guarantor.

(a) The applicable Issuer and the Guarantor (in the case of Guaranteed Debt Securities}
will: =. ,

()) file with the Trustee, within 15 days after the applicable Issuer or the Guarantor
(in the case of Guaranteed Debt Securities) is required to file the same with the
Commission, copies of the annual reports and of the information, documents
and other reports (or copies of such portions of any of the foregoing as the
Commission may from time to time by miles and regulations prescribe) which:
such Issuer or Guarantor may be required to file with the Commission pursuant
_ to Section 13-or Section 15(d) of the Securities Exchange Act of 1934; or, if
such Issuer or Guarantor is not required to file information, documents or
reports pursuant to either of these Sections, then it will file with the Trustee and
‘the Commission, in accordance with rules and regulations prescribed from time ~
to ime by the Commission, such of the supplementary and periodic
information, documents and reports that may be required pursuant to Section 13
of the Securities Exchange Act of 1934 in respect of a security listed and
registered on a national securities exchange as may be prescribed from time to

time in such rules and regulations;

(2) file with the Trustee and the Commission, in accordance with rules and
regulations prescribed from time to time by the Commission, such additional
information, documents and reports with respect to compliance thereby with the
conditions and covenants of this Indenture as may be required from time to time —

by such tules and regulations; and

3) notify the Trustee when Debt Securities of any series are listed on any stock
exchange.

. (b) | The Issuers and the Guarantor shall also comply with the provisions of Section 314(a)
of the Trust Indenture Act. .

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ARTICLE EIGHT

AMALGAMATION, CONSOLIDATION, CONVEYANCE, TRANSFER OR LEASE

SECTION 801. Amalgamations and Consolidations of issuers or Guarantor and Conveyances
Permitted Subject to Certain Conditions.

So long as any Debt Security of a particular series remains Outstanding, neither the applicable
Issuer nox the Guarantor (if Guaranteed Debt Securities remain Outstanding) will amalgamate
with any other corporation or enter into any reorganization or arrangement or effect any
conveyance, transfer or lease of all or substantially all of its assets, unless in any such case:

. (dy such Issuer or Guarantor shall be the continuing corporation, or the successor
, corporation (or the person that leases or that acquires by conveyance or transfer

all or substantially all of such Issuer’s or Guarantor’s agsets) shall expressly’
assume the due and punctual payment of the principal of (and premium, if any)
and interest on all Outstanding Debt Securities issued thereby, according to their
tenor, and the due and punctual performance and observance of all of the
covenants and conditions of this Indenture to be performed by such Issuer or
Guarantor by supplemental indenture satisfactory to the Trustee, executed and

delivered to the Trustee by such corporation; and

Q) stich Issuer or the Guarantor shall not, immediately thereafter be in default
under this Indenture or the Debt Securities.

" SECTION 802. Rights and Duties of Successor Corporation.

{a) In case of any such reorganization, arrangement, conveyance, transfer or lease and
upon any such assumption by the successor corporation, such. successor corporation shall agree -
- to be bound by the terms of this Indenture as principal obligor or guarantor in place of either’
Issuer or the Guarantor (in the case of Guaranteed Debt Securities) with the same effect as if it
had been named herein as such Issuer or Guarantor. Such succéssor corporation thereupon
may cause to be signed, and may issue either in its own name or in the name of such Issuer or
Guarantor, as the case may be, any or all of Debt Securities of any series issuable and, in the
case of Guaranteed Debt Securities, the Guarantee endorsed thereon, hereunder which
theretofore shall not have been signed by such Issuer or Guarantor, and delivered to the
Trustee. All Debt Securities so issued and Guarantees endorsed thereon shall in all respects
have the same legal rank and benefit under this Indenture as Debt Securities and Guarantees
theretofore or thereafter issued or endorsed in accordance with the terms of this Indenture as
though all of such Debt Securities and Guarantees had been issued or endorsed at the date of

the execution hereof.

(b) In the case of any such amalgamation, reorganization, arrangement, conveyance,
transfer or lease, such changes in phraseology and form (but not in substance) may be made in

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Debt Securities and, in the case of Guaranteed Debt Securities, the Guarantee endorsed
thereon, thereafter to be issued as may be appropriate.

SECTION 803.. Officers’ Certificate and Opinion of Counsel.

The Trustee shall receive an Officers' Certificate and an Opinion of Counsel as conclusive
evidence that any such amalgamation, consolidation, lease, sale or conveyance, and any such

assumption, coniply with the provisions of this Article Eight.

‘ARTICLE NINE
SUPPLEMENTAL INDENTURES
SECTION 901. Supplemental Indentures Without Consent of Holders.

“Without the consent of any Holders, the Issuers and the Guarantor, when authorized by a
Board Resolution, and the Trustee, at any time and from time to time, may efter into one or
more indentures supplemental hereto, in form satisfactory to the Trustee, for any of the

following purposes:

—¢ 1) to evidence the succession of another corporation to an. [ssuer or the Guarantor, and the
assumption by such successor of the covendnts of such Issuer or the Guarantor herein and in

the Debt Securities;

(2) ‘to add to the covenants of an Issuer or the Guarantor, as thecase may be, for the
benefit of the Holders of all or any series of Debt Securities (and, if such covenants are to be
for the benefit of less than all series of Debt Securities, stating that such covenants are
expressly being included solely for the benefit of such-series), or to surrender any right or

"power herein conferred upon such Issuer or the Guarantor;

Q) to add any additional Events of Default (and, if such Events of Default are tobe
- applicable to less than all series of Debt Securities, stating that such Events of Default are
' expressly being included solely to be applicable to such series);

(B to change or eliminate any restrictions on the payment of principal (or premium, if any)
of Debt Securities, provided that any such action shall not adversely affect the interests of the
Holders of Debt Securities of any series in any material respect;

G) to change or eliminate any of the provisions of this Indenture, provided that any such
change or elimination shall become effective only when there is no Outstanding Debt Security
of any series created prior to the execution of such supplemental indenture that is entitled to

the benefit of such provision;

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(6) to establish the form or terms of Debt Securities of any series as permitted by Sections
201 and 301;

(7) ~~ to evidence and provide for the acceptance of appointment hereunder by a successor
Trustée with respect to the Debt Securities of one or more series and to add to or change any

. Of the provisions of this Indenture as shall be necessary to provide for or facilitate the

administration of the trusts hereunder by more than one Trustee;

(8) to secure the Debt Securities; or

(9) to cure any ambiguity; to correct or supplement any provision herein that may be

defective or inconsistent with any other provision herein, or to make any other provisions with |

respect to matters or questions arising under this Indenture that shall not be inconsistent with
any provisions of this Indenture, provided such other provisions shall not adversely affect the
interests of the Holders of Debt Securities of any Series in any material respect.

SECTION 902. Supplemental indeneures with Consent of Holders. .

. (a) With. the consent of the Holders of not less than a majority in‘ principal amount of the

Outstanding Debt Securities affected by such supplemental indenture, by Act of said Holders
delivered to the Issuers, the Guarantor and the Trustee, the Issuers and the Guarantor, when
authorized by a Board Resolution, and the Trustee may enter into an indenture or indentures
supplemental hereto for the purpose of adding any provisions to or changing in any manner or
eliminating any of the provisions of this Indenture or of modifying in any manner the rights of
the Holders under this Indenture of such Debt Securities; provided, however, that no such
supplemental indenture shall, without the consent of the Holder of each Outstanding Debt

Security affected thereby:

(1) change the Stated Maturity Date of the principal of, or any installment of
interest on, any Debt Security, or reduce the principal amount thereof or the
interest thereon or any premium payable upon redemption thereof, or reduce the

‘amount of the principal of an Original Issue Discount Security that would be —
due and payable upon a declaration of acceleration of the Maturity thereof
pursuant to Section 501, or change any Place of Payment, or change the
currency in which any Debt Security or interest thereon is payable, or impair
the right to institute suit for the enforcement of any such payment on or after the
Stated Maturity Date thereof (or, in the case of redemption, on or after the

Redemption Date);

(2) reduce the percentage in principal amount of the Outstanding Debt Securities of
any series, the consent of whose Holders is required for any such supplemental
-indenture, or the consent of whose Holders is required for any waiver (of
compliance with certain provisions of this Indenture or certain defaults
hereunder and their consequences) provided for in this Indenture, or reduce the

. requirements of Section 1404 for quorum or voting;
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G) modify any of the provisions’of this Section, Section 503 or Section 1006,

. except to increase any such percentage or to provide that certain other

* provisions of this Indenture cannot be modified or waived without the consent
of the Holder of each Outstanding Debt Security affected thereby; provided,
however, that this clause shall not be deemed to require the consent of any
Holder with respect to changes in the references to “the Trustee” and
concomitant changes in this Section and Section 1006, or the deletion of this
Proviso, i in accordance with the requirements of Section 901(7); or ,

(4) - change in any manner r adverse to the interests of the Holders of any Outstanding
Debt Secutities the terms and conditions of the obligations of the Guarantor (in
the case of Guaranteed Debt Securities). in respect of the due and punctual
payment of the principal (or, if the context so requires, lesser amount in the
case of Original Issue Discount Securities) thereof (and premium, if any,
thereon) and interest thereon or any additional amounts ¢ or any sinking fund or

analogous payments provided f in respect thereof.

’ (b) Te shall not be necessary for any Act of Holders under this Section to approve the

particular form of any proposed supplemental indenture, but it shall be sufficient if such Act

shall.approve the substance thereof.

() A supplemental indenture that ‘changes or - eliminates any covenant or other provisions
of this Indenture that has expressly been included solely for the benefit of one or more
particular senies of Debt Securities, or that modifies the rights of the Holders of Debt
Securities of such series with respect to such covenant or other provision, shall be deemed not
to affect the rights under this. Indenture of the Holders of Debt Securities of any other series. ©

SECTION 903. Execution of Supplemental Indentures.

In executing, or accepting the additional trusts created by, any supplemental indenture
permitted by this Article or the modifications thereby of the trusts created by this Indenture,

‘the Trustee shall be entitled to receive, and, subject to Section 601, shall be fully protected in

relying upon, Opinions of Counsel stating that the execution of such supplemental indenture is
authorized or permitted by this Indenture, is not inconsistent herewith, is a valid and binding

. Obligation of the Issuers and the Guarantor (in the case of Guaranteed Debt Securities),

enforceable in accordance with its terms, subject to enforceability being limited by bankruptey,
insolvency or other laws affecting the enforcement of creditor's rights generally and equitable
remedies including the remedies of specific performance and injunction being granted only in
the discretion of a court of competent Jurisdiction and, in connection with a supplemental
indenture executed pursuant to Section 9Q1, that the Trustee is authorized to execute and
deliver such supplemental indenture without the consent of the Holders and, in connection with
a supplemental indenture executed pursuant to Section 902; that the requisite consents of the.

. Holders have been validly obtained in accordance with Section 902 hereof. The Trustee may,

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but shall not be obligated to, enter into any such supplemental indenture that affects the
Trustee's own rights, duties or immunities under this Indenture or otherwise.

SECTION 904. Effect of Supplemental Indentures.

Upon the execution of any supplemental indenture under this Article, this Indenture shall be
modified in accordance therewith, and such supplemental indenture shall form a part of this
Indenture for all purposes; and every Holder of Debt Securities theretofore or thereafter
authenticated and delivered under this Indenture shail be bound by the supplemental indenture.

SECTION 905. . Confommity with Trust Indenture Act.

Every supplemental indenture executed pursuant to this Article shall conform to the
requirements of the Trust Indenture Act as then in effect. :

SECTION 906, Reference in Debt Securities to Supplemental Indentures.

Debt Securities of any series authenticated and delivered after the execution of any -
supplemental indenture pursuant to this Article may, and shall if required by the Trustee, bear
a notation in form approved by the Trustee as to any matter provided for in such supplemental.
indenture... If the applicable Issuer or the Guarantor (in' the case of Guaranteed Debt Securities)
shall so determine, new Debt Securities of any series and any Guarantees endorsed thereon so
modified as to conform, in the opinion of the Trustee and the Board of Directors, to any such
supplemental indenture may be prepared and executed by such Issuer and Guarantor and
authenticated and delivered by the Trustee in exchange for Outstanding Debt Securities of such

series.

ARTICLE TEN

COVENANTS

SECTION 1001. Payment of Principal, Premium and Interest.

The applicable Issuer covenants and agrees for the benefit of each particular series of Debt
Securities that it will duly and punctually pay the puncipal of (and premium, if any) and
interest on the Debt Securities in accordance with their terms and this Indenture. Principal
(and premium, if any) or interest payable with respect to any Debt Securities shallbe
considered paid on the date due if the Paying Agent, or such Issuer if it acts as its own Paying
Agent, holds on that date money sufficient to pay all principal (and premium, if any) and

interest then due,
SECTION 1002. Maintenance of Office or Agency.

(a) The applicable Issuer will maintain in each Place of Payment for any series of Debt
Securities issued thereby an office or agency where Debt Securities of such series may be

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presented or surrendered for payment, where Debt Securities of such series may be
surrendered for registration of transfer er exchange and where notices and demands to or upon
such Issuer in respect of the Debt Securities of such series and this Indenture may be served;
and the Guard will maintain in The City of New York an office or agency where notices
and demands to or upon the G or in of Guaranteed Debt Securities of any series

' and this Indenture may be served. The applicable Issuer and the Guarantor Gin the case of
Guaranteed Debt Securities) will give prompt written notice to the Trustee of the location, and
any change in the location of any such office or agency. If at any time either Issuer or the’
Guarantor shall fail to maintain any such required office or agency or shall fail to furnish the
Trustee with the address thereof, such presentations, surrenders, notices and demands may be
made or served at the Corporate Trust Office of the Trustee and the Issuers and the Guarantor
each hereby appoints the Trustee its agent to receive all such presentations, surrenders, notices

and demands.

(b} An Issuer may alsa froni.time to time designate one or more other offices or agencies
_ (in or outside of such Place of Payment} where the Debt Securities of one or more series may

be presented or surrendered for any or all of such purposes, and may from me to time rescind
Such designations; provided, however, that no such designation or rescission shall in any
manner relieve such Issuer of its obligation to maintain an office or agency in each Place of

- Payment for any series of Debt Securities, for such purposes, Such Issuer will give prompt
written notice to the Trustee of any such designation and any change in the location of any _
such other office or agency. . .

‘SECTION 1003: Money for Debs Securities Payments to Be Held in Trust.

(a). If an Issuer or the Guarantor (in the case of Guaranteed Debt Securities) shall at any —
time act as its own Paying ‘Agent with respect to any series of Debt Securities, it will, on or -
before each due date of the principal of (and premium, if any) or interest on any of the Debt
Securities of such series, segregate and hold in trust for the benefit of the Persons entitled
thereto a sum sufficient to pay the principal (and premium, if any) or interest so becoming due
until such sums shall be paid to such Persons or otherwise disposed of as herein provided, and.

will promptly notify the Trustee of its action or failure so to act.

(b) Whenever an Issuer shall have one or more Paying Agents with respect to any series of
Debt Securities, it will, prior to each due date’ of the principal of (and premium, if any) or
interest on any Debt Securities of such series, deposit with a Paying Agent a sum sufficient to -
‘pay the principal (and premium, if any) or interest so becoming due, such sum to be held in
trust for the benefit of the Persons entitled to such principal, premium or interest, and (unless
such Paying Agent is the Trustee) such Issuer will promptly noufy the Trustee of its action or

‘failure so to act.
fc) The applicable Issuer will cause each Paying Agent with respect to any series of Debt
Securities, other than the Trustee, to execute and deliver to the Trustee an instrument in which
_ Such Paying Agent shall agree with the Trustee, subject to the provisions of this Section, that
such Paying Agent will:
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(1) hold all sums held by it for the’ payment of the principal of (and premium, if
any) or interest on Debt Securities of such series in trust for the benefit of the
Persons entitled thereto until such sums shall be paid to such Persons or ’-

otherwise disposed of as herein provided;

(2) give the Trustee notice of any default by such Issuer or Guarantor (or any other
oigor COSTE the Bebt Securities ofsuch-serics-or Guarantees ‘emlorsec-thereon

(in the case of Guaranteed Debt Securities) in the making of any payment of
principal of (and premium, if any) or interest on the Debt Securities of such
series or Guarantees endorsed theréon (in the case of Guaranteed Debt

Securities); and

(3) at any time during the continuance of any such default, upon the written request
.Of the Trustee, forthwith pay to the Trustee all sums so held in trust by such

. Paying Agent.

(d) The applicable Issuer may at any time, for the purposé-of obtaining the satisfaction and ©
' discharge of this Indenture or for any other purpose, pay, or by Issuer Order of such Issuer
direct any Paying Agent to pay, to the Trustee all sums held in trust by such Issuer or ‘such
Paying Agent, such sums to be held by the Trustee upon the same trusts as those upon which
such sums were held by such Issuer or such Paying. Agent; and, upon such payment by any
Paying Agent to the Trustee, such Paying Agent shall be released from all further liability with

-respect to such money.

() Any money deposited with the Trustee or any Paying Agent, or then held by the:
applicable Issuer or the Guarantor (in the case of Guaranteed Debt Securities), in trust for the
payment of the principal of (and premium, if any) or interest on any Debt Security of any
series and remaining unclaimed for two years after such principal (and premium, if any) or
interest has become due and payable shall be paid to such Issuer or Guarantor on Issuer
Request of Such Issuer or Guarantor Request, as the case may be, or (if then held by such
Issuer or Guarantor) shail be discharged from such trust; and the Holder of such Debt Security
"shall thereafter, as an unsecured general creditor, look only to such Issuer or Guarantor, as the
case may be, for payment thereof, and all liability of the Trustee or such Paying Agent with
respect to such trust money, and all liability of such Issuer or Guarantor, as the case may be,
as trustee thereof, shall thereupon cease; provided, however, that the Trustee or such Paying
Agent, before being required to make any such repayment, may at the expense of such Issuer
or Guarantor, as the case may be, cause to,be published once, in an Authorized Newspaper of
general circulation in the Borough of Manhattan, The City of New York, and each Place of
Payment or mailed to each such Holder, or both, notice that sich money remains unclaimed
and that, after a date specified therein, which shall not be less than 30 days from the date of
such publication or mailing, any unclaimed balance of such money then remaining will be

repaid to such Issuer or Guarantor, as the case may be.

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SECTION 1004. ‘Negative Pledge.

(a) Subject to the following exceptions, Northern Telecom will not, and will not permit the
Restricted Subsidiaries, as long as any Debt Securities remain outstanding, to issue, assume or
guarantee any Funded Debt secured by, and will not secure any Funded Debt by, a Mortgage
upon any property of Northern Telecom or a Restricted Subsidiary (whether now owned or
hereafter acquired) without in any such case effectively providing concurrently therewith that
the Debt Sécurities shall be secured equally and ratably with such Funded Debt; provided,
however, that the foregoing restrictions shall not apply to Funded Debt secured by:

(1) Purchase Money Mortgages;

(2) Mortgages on property of a corporation existing at the time such corporation is
Jiquidated or merged into, or amalgamated or consolidated with, Northern
“ Telecom or a Restricted Subsidiary or at the time of a sale, lease or other’
_ disposition to. Northem Telecom or a Restricted Subsidiary of the properties of a
corporation as, or substantially as, an entirety;

(3) Mortgages to secure indebtedness of any Restricted Subsidiary to Northern
_ Telecom or to another Restricted Subsidiary-or to secure indebtedness of
Northern Telecom to any Restricted Subsidiary; ,

(4) Mortgages in favour of the United States of America or any State thereof,
Canada or any Province or territory thereof, or any department, agency or

instrumentality or political subdivision thereof, or in favor of any other country
or political subdivision, to secure partial, progress, advarice or other payments
pursuant to any contract or statute or to secure any indebtedness incurred or |
guaranteed for the purpose of financing or refinancing all or any part of the
purchase price of the property, shares of capital stock or indebtedness subject to
such Mortgagés, or the cost of constructing or improving the property subject to
such Mortgages (including, without limitation, Mortgages incurred in
connection with pollution control, industrial revenue or similar financings), and

6) any extension, renewal or replacement (or successive extensions, renewals or
replacements) in whole or in part of any Mortgage existing at the date of this
Indenture or any Mortgage referred to in the foregoing clauses (1) through (4), :
inclusive, provided, however, that the principal amount of the Funded Debt
secured thereby shall not exceed the principal amount of the Funded Debt so
‘ secured at the time of such extension, renewal or replacement, and that such
extension, renewal or replacement shall be limited to all or.a part of the
property (plus improvements and construction on such property) or indebtedness
that was subject to the Mortgage so extended, renewed or replaced. ,

(b) Notwithstanding the foregoing, Northem Telecom or any Restricted Subsidiary may
issue, assume or guarantee Funded Debt secured by a Mortgage upon any property of

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Northen Telecom or such Restricted Subsidiary that would otherwise be subject to the
foregoing restrictions, and may carry out any other transactions which would otherwise be
-subject to the foregoing restrictions, provided the aggregate amount of all (1) such Funded
Debt and (2) Attributable Debt in respect of all Financing Leases entered into on or after
February 15, 1996 would not, after giving effect thereto, exceed 15% of the Corporation’ s

Consolidated Net Tangible Assets.

{c) . Northem Telecom will not, and will not permit any Restricted Subsidiary to, enter into
any Financing: Leases covering any property of Norther Telecom or a Restricted Subsidiary
unless: (1) immediately thereafter the sum of (i) the Attributable Debt in respect of all

’ Financing Leases entered into.on or after February 15, 1996, and (ii) the aggregate amount of

" all Funded Debt secured by a Mortgage (exclusive of any secured Funded Debt permitted by
clauses (1) through (5) of Section 1004(a)) does not exceed 15% of Northern Telecom's.
Consolidated Net Tangible Assets; (2) Northern Telecom or such Restricted Subsidiary would
(at the time of entering into such arrangement) be entitled, pursuant to clauses (1) to (5) of
Section 1004(a), without equally and ratably securing the Debt Securities, to issue, assume or .
guarantee indebtedness secured by a Mortgage on such property; or (3) Northern Telecom or a
Restricted Subsidiary shall apply, within 360 days of the effective date of any such
arrangemeént, an amount equal to the Attributable Debt i respéct of such Financing Leases to
the prepayment or retirement of indebtedness incurred or assumed by Northern Telecom or any
Restricted Subsidiary (other than indebtedness owned by Northern Telecom or any Restricted
Subsidiary) which by its terms matures at or is extendible or renewable at the option of the
obligor to a date more thari 12 months after the date of the creation of such indebtedness.

, SECTION 1005. Compliance Certificate.

Each of the Issuers and the Guarantor shall deliver an Officers’ Certificate to the Trustee
within 120 days after the end of each fiscal year thereof stating whether the signers know of
any Event of Default that occurred during the fiscal year. If am’ Event of Default shall have
occurred, the applicable certificate shall describe the nature of.the Event of Default and its

current Status.

SECTION 1006, Waiver of Cersain Covenants.

The applicable Issuer and the Guarantor (in the case of Guaranteed Debt Securities) may omit
jn any particular instance to comply with any covenant or condition set forth in Sections 1004

and 1005, with respect to the Debt Securities of any series if, before the ime for such
compliance, the Holders of a majority in principal amount of the Outstanding Debt Securities

_ of such series shall, by Act of such Holders, either waive such compliance in such instance or
generally waive compliance with such covenant'or condition, but no such waiver shall extend
to or affect such covenant or condition except to the extent so expressly waived, and, until
such waiver shall become effective, the obligations of such Issuer and Guarantor and the duties
of the Trustee in respect of any such covenant or condition shall remain in full force and

effect.

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ARTICLE ELEVEN |

REDEMPTION OF DEBT SECURITIES

SECTION L101. | Applicability of. Article.

Debt Securities of any series that are redeemable before their Stated Maturity Date shall be
redeemable in accordance with their terms and (except as otherwise specified pursuant to
Section 301 for Debt Securities of any series) i in accordance with this Article. .

SECTION 102. Election to Redeem; Notice to Trustee.

If the applicable Issuer elects to redeem less than all of the Debt Securities of any series, such
Issuer shall, at least 45 days prior to the Redemption Date fixed by such Issuer (unless a

shorter notice shall be Satisfactory to the Trustee), notify the Trustee of such Redemption Date
_ and of the’ principal amount of Debt Securities of any series to be redeemed.

SECTION 1103. Selection by Trustee of Debi Securities to Be Redeemed.

(a) _ Except as otherwise specified pursuant to Section 301 for Debt Securities of any series,
if less than all.the Debt Securities of any series are to be redeemed, the particular Debt
Securities to be redeemed shail be selected not more than 45 days prior to the Redemption
Date by the Trustee from the Outstanding Debt Securities of such series not previously called
for redemption, by such method as the Trustee shall deem fair and appropriate and which may
. provide for the selection for redemption of portions (equal to the minimum authorized
denomination for Debt Securities of such series or any integral multiple thereof that is also an
authorized denomination, but in no event shall such portion be less than $1,000) of the
principal amount of Debt Securities (if issued in more than one authorized denomination) of
such series of a denomination larger than the minimum authorized denomination for Debt

Securities of such series.

(b) ‘The Trustee shall promptly notify the applicable Issuer and the Guarantor (in the case
of Guaranteed Debt Securities) in writing of the Debt Securities selected for redemption and,
in the case of any Debt Securities selected for partial redemption, the principal amount thereof

to be redeemed,

(c) For ail purposes of this Indenture, unless the context otherwise requires, all provisions
related to the redemption of Debt Securities shall relate, in’ the case of any Debt Security-
redeemed or to be redeemed only in part, to the portion of the principal ‘amount of such Debt

Security that has been or is to be redeemed.

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SECTION 1104. Notice of Redemption.

- {a) Notice. of redemption shall be given in the manner provided in Section 106 not less than

30 or more than 45 days prior to the Redemption Date, to each Holder of Debt Securities to be
redeemed.

{b) All notices of redemption shall state: (1) the Redemption Date; (2) the Redemption
Price; (3) if less than all Outstanding Debt Securities of any series are to.be redeemed, the
identification (and, in the case of partial redemption, the principal amounts) of the particular
Debt Securities to be redeémed; (4) that on the Redemption Date, the Redemption Price will
become due and payable upon each such Debt Security to be redeemed, and that interest
thereon shall cease to accrue on and after said date; (5) the Place or Places of Payment where
such Debt Securities are to be surrendered for payment of the Redemption Price; and (6) that

‘the redemption is for a sinking fund, if such is the case.

© A notice of redemption published as contemplated by Section 106 need not identify
particular Debt Securities to be redeemed. Notice of redemiption of Debt Securities to be

‘redeemed at the election of the applicable Issuer shall be given by such Issuer or, at such
Tssuer’s request, by the Trustee in the name and at the expense of such Issuer. .

SECTION 1105. Deposit of Redemption Price. __

_ On or prior to any Redemption Date, the applicable Issuer shall deposit with the Trustee or
with a Paying Agent (or, if such Issuer is acting as its own Paying Agent, segregate and hold

in trust as provided in Section 1003) an amount of money sufficient to pay the Redemption
Price of, and (except if the Redemption Date shali be an Interest Payment Date) accrued
interest on, all the Debt Securities or portions thereof that are to be redeemed on that date; .

‘provided, however, that any funds deposited on the Redemption Date shall be deposited by the

Issuer no later than 12:00 p.m., New York City time on such Redemption Date.

SECTION 1106. Debt Securities Payable on Redemption Date.

(a) Notice of redemption having been given as aforesaid, the Debt Securities so to be
redeemed shall, on the Redemption Date, become due and payable at the Redemption Price.
specified in such notice. From and after’such date (unless the applicable Issuer shall default in
the payment of the Redémption Price and accrued interest) such Debt Securities shall cease to
bear interest. Upon surrender of any such Debt Security for redemption in accordance with
the notice, such Debt Security shall be paid by such Issuer at the Redemption Price, together
with accrued interest to the Redemption Date; provided however, that installments of interest
on Debt Securities whose Stated Maturity Date is on or prior to the Redemption Date shall be

payable to the Holders of such Debt Securities, or one or more Predecessor Securities,
registered as such on the relevant Record Dates according to their terms and the provisions of

Section 307.

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(b) If any. Debt Security called for redemption shall not be so paid upon surrender thereo: wate. t =
" ‘for redemption, the principal (and premium, if any) shall, until paid, bear interest from the 9 ¢ “Acree
. Redemption Date at the rate prescribed therefor in the Debt Security. sO

SECTION 1107. Debt Security Redeemed in Part.

Any Debt Security that is to be redeemed only in part shall be surrendered at a Place of
Payment therefor (with, if the applicable Issuer, the Security Registrar or the Trustee so
requires, due endorsement by, or a written instrument of transfer in form satisfactory to such
Issuer, the Security Registrar and the Trustee duly executed by, the Holder thereof or his
attorney duly authorized in writing), and such Issuer shall execute, and the. Trustee shall '
authenticate and deliver to the Holder of such Debt Security without service charge, anew’ -
Debt Security or Debt Securities of the same series, each (in the case of Guaranteed Debt
Securities) having endorsed thereon the Guarantee executed by the Guarantor, of any
authorized denomination as requested by such Holder in aggregate principal amount equal to
and in exchange for the unredeemed portion of the principal of the Debt Security so
- Surrendered; except that if a Global Security is so surrendered, such Issuer shall execute, and’

the Trustee shall authenticate and deliver to the Depositary for such Global Security, without
service charge, a new Global Security, each (in the case of Guaranteed Debt Securities) having -
endorsed thereon the Guarantes executed by the Guarantor, in a denomination equal to and in
exchange for the unredeemed portion of the principal of the Global Security so surrendered.

ARTICLE TWELVE
SINKING FUNDS
SECTION 1201. Applicability of Article.

The provisions of this Article shall be applicable to any sinking fund for the retirement of Debt
. Securities of a series except as otherwise specified pursuant to Section 301 for Debt Securities
of such series. The minimum amount of any sinking fund payment provided for by the terms
of Debt Securities of any series is herein referred to as a “mandatory sinking fund payment”,
and any payment in excess of such minimum amount provided for by the terms.of Debt
Securities of any series is herein referred to as an “optional sinking fund payment”. If
provided for by the terms of Debt Securities of any series, the amount of any sinking fund
payment may be subject to reduction as provided in Section 1202. Each sinking fund payment
shall be applied to the redemption of Debt Securities of any series as provided for by the terms

of such Debt Securities.
SECTION 1202. Satisfaction of Sinking Fund Payments with Debt Securities.

The applicable Issuer or the Guarantor (in the case of Guaranteed Debt Securities) may deliver
Outstanding Debt Securities of a series (other than any previously called for redemption) and
may apply as a credit Debt Securities of a series that have been redeemed either at the election

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of such Issuer pursuant to the terms of such Debt Securities or through the application of
permitted optional sinking fund payments pursuant to the terms of such Debt Securities, in
each case, in satisfaction of all or any part of any sinking fund payment with respect to such
Debt Sécurities of such series required to be made pursuant to, and as provided for by, their
_terms; provided that such Debt Securities have not been previously so credited. Such Debt
Securities shall be received and credited for such purpose by the Trustee at the Redemption
Price specified in such Debt Securities for redemption through operation of the sinking fund

and the amount of such sinking fund payment shall be reduced accordingly.
SECTION 1203. Redemption of Debt Securities for Sinking Fund.

Not less than 60 days prior to each sinking fund payment date for any series of Debt Securities’

(unless a shorter period shall be satisfactory to the Trustee), the applicable Issuer will deliver.

to the Trustee an Officers’ Certificate of such entity specifying the amount of the next sinking

fund payment for that series pursuant to the terms of that series, the portion thereof, if any,

that is to be satisfied by payment of cash, the portion thereof, if any, that is to be satisfied by

delivering and crediting Debt Securities of that series pursuant to Section 1202 and the basis ,

for any such credit and, prior to or concurrently with the delivery of such Officers’ Certificate, _ '
will also deliver to the Trustee any Debt Securities to be so credited and not theretofore
delivered to the Trustee. Not less than 45 days (unless a shorter period shall be satisfactory to

the Trustee) before each such sinking fund payment date the Trustee shall select the Debt"

Securities to be redeemed upon such sinking fund payment date in the manner specified 1 in

Section 1103 and. cause notice of the redemption thereof to be given in the name of and at the ©

expense of such Issuer in the manner provided in Section 1104, Such notice having been duly

given, the redemption of such Debt Securities shall be made upon the terms and in the manner .

stated in Sections 1105, 1106 and 1107. |

ARTICLE THIRTEEN

DEFEASANCE

SECTION 1301. Discharge.by Deposit of Money or Debi Securities.

{a) This Section 1301 shall be applicable to Debt Securities of a series if so provided
pursuant to Section 301. All obligations, covenants and agreements of the applicable Issuer
and the Guarantor (in the case of Guaranteed Debt Securities) under this Indenture with respect
to Debt Securities of a particular series or for the benefit of the Holders. thereof (except as to
any surviving rights of registration of transfer or exchange of Debt Securities or herein
expressly provided for) shall cease, terminate and be discharged if:

qd) the applicable Issuer or the Guarantor (in the case of Guaranteed Debt

Securities) has, at least 91 days prior thereto, irrevocably deposited with the
Trustee, as specific security pledged for, and dedicated solely to, the due

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(3)

payment and ultimate satisfaction of its obligations under the Indenture with
respect to the Debt Securities of the series affected,

@) funds in the.currency, currencies or currency units in which the Debt
Securities are payable, and/or

{ii} an amount of direct obligations of, or obligations the payment of principal
of and interest, if any, on are fully guaranteed by, the government that
issued the currency or currencies in which Debt Securities of such series
are payable, and that are not subject to prepayment, redemption or call,

as, will together with the predetermined and certain income to accrue thereon
without consideration of any reinvestment thereof, be sufficient (in the case of
such obligations, through the payment of interest and principal thereunder) to
pay (A) the principal of (and premium, if any) and interest on the Outstanding
Debt Securities of the particular series on the Stated Maturity Date of. such
principal or interest or of any installment thereof, and (B) any mandatory
prepayments or analogous payments applicable to such Debt Sécurities on the

day on which such payments are due and payable in accordance with the. terms

of this Indenture and such Debt Securities;

the applicable Issuer and the Guarantor (in the case of Guaranteed Debt

Securities} shall have received an Opinion of Counsel to the effect that Holders
of such Debt Securities will not recognize income, gain or loss for United States
federal income tax purposes as a result of sucli deposit and defeasance in respect

of such Issuer’s and Guarantor’s obligations and will be subject to United States ,
federal income tax if such deposit and defeasance had not occurred;

the applicable Issuer and the Guarantor (in the case of Guaranteed Debt
Securities) shall have received an Opinion of Counsel to the effect that the
Holders of the Debt Securities affected will not recognize income (whether
taxable to them by deduction or withholding by the applicable Issuer or the

' Guarantor or otherwise), gain or loss for Canadian federal income tax purposes

as a result of such deposit and defeasance in respect of such Issuer’s and
Guarantor’s obligations and will be subject to Canadian federal income tax as if

such deposit and defeasance had not occurred;

. such deposit will not result in a breach or violation of, or constitute a default

under, this Indenture or any other material agreement or instrument to which the
applicable Issuer or the Guarantor (in the case of Guaranteed Debt Obligations)

is a party or by which it is bound;

. no Event. of Default with respect to the Debt Securities of such series or event

that, with notice or lapse of time, would become an Event of Default shall have

- occurred and be continuing on the date of such deposit;

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(6) if such Debt Securities are listed on the New York Stock Exchange, the
applicable Issuer shall have delivered to the Trustee an Opinion of Counsel to
the effect that such deposit and defeasance will not cause such Debt Securities ¢ to

be delisted: and

(7) the applicable Issuer or the Guarantor, as the case may be, shall have delivered
to the.Trustee an Officérs’ Certificate and’an Opinion of Counsel, each stating
compliance with all conditions precedent to the defeasance contemplated by

* Section 1301 or Section 1302.

(b) Notwithstanding any defeasance under this Indenture with respect to such series of Debt
Securities, the obligation of the applicable Issuer to indemnify and compensate the Trustee
under this Indenture and the obligations of the Trustee under Sections 1003 and 1303 shall

survive with respect to sucli series of Debt Securities.

‘SECTION 1302. ‘Defeasance of Certain Obligations.

Northern Telecom and any Restricted Subsidiary may omit to comply with the terms,
provisions and conditions set forth-in Section 1004 and any such omission shall not be an
Event of Default, with respect to any series of Debt Securities, provided the following —

’ conditions have been satisfied:
(D the conditions set forth in clauses (1) to (7), inclusive of Section 1301 (a); and |

(2). such deposit shall not cause the Trustee with respect to such. series of Debt °
Securities to have a conflicting interest, within the meaning of this Indenture,
and for purposes of the Trust Indenture Act with respect to such Debt

- Securities,
SECTION 1303. Application of Trust Money.

All money deposited with the Trustee pursuant to Sections 1301 and 1302 shall be held in trust
and applied by it, in accordance with the provisions of the Debt Securities and this Indenture
and any applicable direction of the applicable Issuer or the Guarantor (in the case of
Guaranteed Debt Securities) to the payment, either directly or through any Paying Agent
(including such Issuer or Guarantor acting as its own Paying Agent), as the Trustee may
determine, to the persons entitled thereto, of the principal (and premium, if any) and interest
for whose payment such money has been deposited with the Trustee.

SECTION 1304. Repayment to the Corporation. .

(a) The Trustee and any. Paying g Agent shall promptly pay to the applicable Issuer or the
Guarantor (in the case of Guaranteed Debt Securities) upon Issuer Request of such Issuer or
Guarantor Request, as the case may be, any money or governmental obligations not required

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for the payment of the principal of (and premium, if any) and interest on Debt Securities of ©
any series for which currency or government obligations have béen.deposited pursuant to

Section. 1301 held. by them at any time.

(b) The Trustee and any Paying Agent shall pay to the applicable Issuer or the Guarantor
(in the case of Guaranteed Debt Securities) upon Issuer Request of such Issuer or Guarantor
Request, as the case. may be, any money held by them for the payment of principal (and
premium, if any) and interest that remains unclaimed for two years after the Maturity of the
Debt Securities for which a deposit has been made pursuant to Section 1301. After such
payment to such Issuer or Guarantor, as the’case’may be, the Holders of Debt Securities of
such series shall thereafter, as unsecured general creditors, look only to such Issuer or

Guarantor, as the case may be, for payment thereof.

_ ARTICLE FOURTEEN
"MEETINGS OF HOLDERS oF DEBT SECURITIES

_ SECTION 1401 . Purposes for Which Meetings May -Be Called.

A meeting of Holders of Debt Securities of such series may be called at any time and from
time to time pursuant to this Article to make, give or take any Act provided by this Indenture
to be made, ‘given or taken by Holders of Debt Securities of such series.

SECTION 1402. ‘Cail, Notice and Place of Meetings.

(a) The Trustee may at any time call a meeting of Holders of Debt Securities of any series
for any purpose specified in Section 1401, to be held at such time and at such place in the
Borough of Manhattan, The City of New York. Notice of every meeting of Holders of Debt
Securities of any series, setting forth the time and place of such meeting and in general terms
the action proposed to be taken at such meeting, shall be given, in the manner provided in
Section 106, -not less than 21 or more than 50 days prior to the. date fixed for the meeting.

(b) If at any time an Issuer or the Guarantor (in the case of Guaranteed Debt Securities),
pursuant to a Board Resolution, or the Holders of at least 10% in principal amount of the
Outstanding Debt Securities of any series shall have requested the Trustee to call a meeting of
the Holders of Debt Securities of such series for any purpose specified in Section 1401, by
written request setting forth in reasonable detail the action proposed to be taken at the meeting, '
and the Trustee shall not have made the first publication of the notice of such meeting within
21 days after receipt of such request or shall not thereafter proceed to cause the meeting to be
held as provided herein, then such Issuer or Guarantor or the Holders of Debt Securities of
"such Series in the amount above’ specified, as the case may be, may determine the time and the
place in the Borough of Manhattan, The City of New York for such meeting and may call such
‘meeting for such purposes by giving notice thereof as provided. in paragraph @ of this

Section.
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SECTION 1403. . Persons Entitled to Vote at Meetings.

To be entitled to vote at any meeting of Holders of Debt Securities of any series, a Person
shall be: (la Holder of one or more Outstanding Debt Securities of such sexes; .or Qa
Person appointed by an instrument in writing as proxy for a Holder or Holders of one or more
Outstanding Debt Securities of such series by such Holder or Holders. The only Persons who
shall be entitled to be present or to speak at any meeting of Holders of Debt Securities of any
series shall be the Persons entitled to vote at such meeting and their counsel, any -
representatives of the Trustee and its counsel and any representatives of the applicable {ssuer
and the Guarantor (in the case of Guaranteed Debt Securities) and:its or their counsel.

SECTION 1404. Quorwn, Action.

fa) The Persons entitled fo vote a majotity in principal amount of Outstanding Debt
Securities of a series shall constitute a.quorum for a meeting of Holders of Debt Securities of .
such series, In the absence of a quorum within 30 minutes of the time. appointed for any such ..
meeting, the meeting shall, if convened at the request of Holders of Debt Securities of such
series, be dissolved. In the absence of a quorum in any other case the meeting may be | .
adjourned for a period of not less than 10 days as determined by the Chairman of the meeting —

' prior to the adjournment of such meeting. In the absence of a quorum at any such adjourned
meeting, such adjourned meeting may be further adjourned for a period of not less than 10
days as determined by the chairman of the meeting prior to the adjoum ment of such adjourned
meeting. Notice of the reconvening of any adjourned meeting shall be given as provided in
paragraph 1402(a), except that such notice need be given only once not less than five days
prior to the date on which the meeting is scheduled to be reconvened.

(b) Except as limited by the proviso to Section 902, any resolution presented to a meeting
or adjourned meeting duly reconvened at which a quorum is present as aforesaid may be
adopted only by the affirmative vote of the Holders of a majority in principal amount of
Outstanding Debt Securities of that series; provided, however, that, except as limited by the
proviso to Section 902, any resolution with respect to any Act that this Indenture expressly _
provides may be made, given or taken by the Holders of a specified percentage, which is less
than a majority; in principal amount of Outstanding Debt Sécurities of a series may be adopted
at a meeting or an adjourned meeting duly reconvened and at which a quorum is present as
aforesaid by the affirmative vote of the Holders of such specified percentage in principal

‘ amount of Outstanding Debt Securities of that series.

(c) \ Any resolution passed or decision taken at any meeting of Holders of Debt Securities of
any series duly held in accordance with this Section will be binding on all Holders of Debt
Securities of such series, whether or not present or represented at the meeting.

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From: Bank of WY Mellon

SECTION 1405. Determination of Voting Rights; Conduct and Adjournment of Meetings.

fa) _ Notwithstanding any other provisions of this Indenture, the Trustee may make such
reasonable regulations as it may deem advisable for any meeting of Holders of Debt Securities
of such series in regard to proof of the holding of Debt Securities of such series and of the
appointment of proxies and ia regard to the appointment and duties of inspectors of votes, the
submission and examination of proxies, certificates and other evidence of the right to vote, and
such other matters concerning the conduct of the meeting as it shall deem appropriate. Except -
as otherwise permitted or required by any such regulations, the holding of Debt Securities shall
be proved in the manner specified in-Section 104 and the appointment of any proxy shall be
proved in the manner specified in Section 104, Such regulations may provide that written
instruments appointing proxies, regular on their face, may be presumed valid and genuine
without the proof specified in Section 104 or other proof.

(b) The Trustee shall, by an instrument in writing, appoint a temporary chairman of the
meeting, unless the meeting shall have been called by the applicable Issuer, the Guarantor (in
the casé of Guaranteed Debt Securities) or by Holders of Debt Securities as provided in

Section 1402(b), in which case such Issuer, Guarantor or.the Holders of Debt Securities of the
series calling the meeting, as the case may be, shall in like manner appoint a temporary
chairman. A permanent chairman and a permanent secretary of the meeting shall be elected by
vote of the Persons entitled to vote a majority in principal amount of Outstanding Debt
Securities of such series represented at the meeting.

(ce) At any meeting each Holder of a Debt Security of such series or proxy shall be entitled
_ to one vote for each $1,000 principal amount.(or the equivalent in ECU, any other composite
. currency or a Foreign Currency at the date of issue) of Debt Securities of such series held-or
-‘Tepresented by him; provided, however, that no vote shall be cast or counted at any meeting .iri
respect of any Debt Security challenged as not Outstanding and ruled by the chairman of the —
meeting to be not Outstanding. The chairman of the meeting shall have no night to vote,
except as a Holder of a Debt Security of such series or proxy.

(d) - Any meeting of Holders of Debt Securities of any series duly called pursuant to Section
1402 at which a quorum is present may be adjourned from time to time by Persons entitled to .

_ vole a majority in principal amount of Outstanding Debt Securities of such series represented
at the meeting; and the meeting may be held as so adjourned without further notice.

SECTION 1406, . Counting Votes and Recording Action of Meetings.

{a The vote upon any resolution submitted to any meeting of Holders of Debt Securities of
any series shall be by written ballots on which shali be inscribed the signatures of the Holders,
-of Debt Securities of such series or of their representatives by proxy and the principal amounts
and serial numbers of Outstanding Debt Securities of such series held or represented by diem.

' The permanent chairman of the meeting shall appoint two inspectors of votes who shall count
all votes cast at the meeting for or against any resolution and who shall make and file with the
secretary of the meeting their verified written reports in triplicate of all votes cast at the

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' Meeting. A record, at least in triplicate, of the proceedings of each meeting of Holders of
Debt Securities of any series shall be prepared by the secretary of the meeting and there shall
be attached to said record the original reports of the inspectors of votes on any vote by ballot
taken thereat and affidavits by one or more persons having knowledge of the facts setting forth
a copy of the notice of the meeting and showing that said notice was given as provided in.
Section 1402 and, if applicable, Section 1404. Each copy shall be signed and verified by the
affidavits of the permanent chairman and secretary of the meeting and one such copy shall be
delivered to the applicable Issuer and the Guarantor (in the case of Guaranteed Debt Securities)
and another to the Trustee to be preserved by the Trustee, the latter to have attached thereto
the ballots voted at the meeting. Any record so signed and verified shall be conclusive |

evidence of the matters therein stated,

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*

(b) This instrument may be executed in any number of counterparts, each of which so
‘executed shall be deemed to be an original, but all such counterparts shall topether constitute
but one and the same instrument.

IN WITNESS WHEREOF, the parties hereto have caused this Indenture to be duly executed,
and their respective corporate seals to be hereunto affixed, all as of the ° day and year first

above written.

THE BANK OF NEW YORK, as Trustee.

é
Per: HKATL ee syed.

Title: | . /
fie vied President

Per: { ( . :
” Title: ena es President

NORTHERN TELECOM LIMITED, as.
Issuer

* Per:

Title: Vice President and Treasurer

Per:

Title: Assistant Secretary

NORTHERN TELECOM CAPITAL
CORPORATION, as Issuer

Per:

Title: - Vice President and Treasurer

Per:

Title: Secretary
- 66 -

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— ) This instrument may be executed in any number of counterparts, each of which so
. executed shall be deemed to be an original, but all such counterparts shall together constitute

but one and the samé instrument.

IN WITNESS WHEREOF, the parties hereto have caused this Indenture to be duly executed,
and their respective corporate seals to be hereunto affixed, all as of the day and year first

above written.

‘THE BANK OF NEW YORK, as Trustee

‘Per:

Title:

Per:

Title:

NORTHERN TELECOM LIMITED, : as
Issuer ; /

i .
je

Per. - ‘Wy
Title: Vice-President and: Treasurer

Per; Lh ee

Title: Assistant Secretary

NORTHERN TELECOM CAPITAL
CORPORATION, as Issuer

Per:

Title: Vice-President and Treasurer

Per:

Title: Secretary
- 66 -

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(b) This instrument may be executed in any number of counterparts, each of which so
executed shall be deemed to be an original, but all such counterparts shall together constitute

but one and the same instrument.

IN WITNESS WHEREOF, the parties hereto have caused this Indenture to be duly executed,
and their respective corporate seals to be hereunto affixed, all as of the day and year first
above written.

THE BANK OF NEW YORK, as Trustee

Per:

Title:

Per:

Title:

NORTHERN TELECOM LIMITED, as’
Issuer

Per:

Title: Vice President and Treasurer

Per:

Title: Assistant Secretary

NORTHERN TELECOM CAPITAL
CORPORATION, as Issuer

“Per: C2ybet £ Qube

Title: Vice President and Treasurer

von, Keg A. the kk

Title: Sécretary
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NORTHERN TELECOM LIMITED,
as Guarantor ; “

Per: eo

Title: Vico President and Treasurer

Per: LIAL KE

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Tide:. Assistant Secretary

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~ FrontBank of N¥ Bellon

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CJ

Exhibit &

Form of election to receive payments in
_(Dellars or other applicable currency]
or to rescind such election |

The undersigned, registered owner of certificate number R- , representing

[name of series of Debt Securities? (the “Debt Securities”) in an agercgate principal amount of

; hereby

elects to receive all payments in respect of the Debt Securities in [Dollars or other
applicable currency], it being understood that such election shall take effect as provided

in the Debt Securities and, subject to the terms and conditions set forth in the. indenture

undér which the Debt Securities were issued, shall remain in effect until it is rescinded
by the undersigned or until such certificate is transferred.

rescinds the election previously submitted by the undersigned to receive all payments in

- respect of the Debt Securities in [Dollars or other applicable currency], it being

understood that such rescission shall take effect as provided in Debt Securities.

(Name of Owner)

(Signature of Owner)

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